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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-1851V
                                        UNPUBLISHED


    WILLIAM BAYLEY,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: July 18, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Nicholas C. Deets, Hovde Dassow & Deets, LLC, Indianapolis, IN, for Petitioner.

Steven Santayana, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On September 14, 2021, William Bayley filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”) as a
result of an influenza (“flu”) vaccine administered on January 27, 2020. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

       On July 11, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that “[P]etitioner has satisfied the criteria set forth in the
Vaccine Injury Table . . . and the Qualifications and Aids to Interpretation.” Id. at 9.
Respondent further agrees that “[P]etitioner timely filed this case, received the flu vaccine

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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in the United States, and satisfied the statutory severity requirement by suffering the
residual effects or complications of GBS for more than six months after vaccine
administration.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

     IT IS SO ORDERED.

                                                     s/Brian H. Corcoran
                                                     Brian H. Corcoran
                                                     Chief Special Master




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